                                                    Case 2:19-cv-04821-MWF-KS Document 39 Filed 10/18/19 Page 1 of 3 Page ID #:359


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                                                        Attorneys for Plaintiff
                                                    9   Matthew Fernandes
                                                   10
                                                   11                            UNITED STATES DISTRICT COURT
KAZEROUNI LAW GROUP, APC




                                                                                CENTRAL DISTRICT OF CALIFORNIA
                                                   12
                           San Diego, California




                                                   13
                                                         Richard Dalton, Arthur Catalano,                       Case No: 2:19-cv-04821-MWF-KS
                                                   14
                                                         and Matthew Fernandes
                                                   15    individually and on behalf of others
                                                         similarly situated,                                    DECLARATION OF MATTHEW
                                                   16
                                                                                                                FERNANDES PURSUANT TO
                                                   17                            Plaintiff,                     CALIFORNIA CIVIL CODE §
                                                         v.                                                     1780(d)
                                                   18
                                                   19    Anovos Productions, LLC; Disney
                                                         Lucasfilm Ltd.; NBCUniversal
                                                   20
                                                         Media, LLC; and CBS Studios, Inc.
                                                   21
                                                                                 Defendants.
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                                                        Declaration of Matthew Fernandes                 - !1 of ! 3 -             2:19-cv-04821-MWF-KS
                                                    Case 2:19-cv-04821-MWF-KS Document 39 Filed 10/18/19 Page 2 of 3 Page ID #:360



                                                    1           I, Matthew Fernandes, declare as follows:
                                                    2           1. I make this declaration based upon my personal knowledge except as to
                                                    3               those matters stated herein that are based upon information and belief,
                                                    4               which I believe to be true.
                                                    5           2. I am over the age of eighteen, a citizen of California, and one of the
                                                    6               named Plaintiffs in the litigation described in the caption page of this
                                                    7               declaration.
                                                    8           3. This declaration is made pursuant to California Civil Code section
                                                    9               1780(d).
                                                   10           4. I reside in Stockton, California.
                                                   11           5. I believe that Defendant NBCUniversal Media, LLC is a Delaware
KAZEROUNI LAW GROUP, APC




                                                   12               corporation with its headquarters located in Universal City, California,
                           San Diego, California




                                                   13               within this judicial district.
                                                   14           6. I believe that Defendant CBS Studios, Inc. is a Delaware Corporation,
                                                   15               registered to conduct business in California. Defendant CBS Studios, Inc.
                                                   16               regularly and continuously conducts business in the State of California.
                                                   17               Its principal business office in California is located in Hollywood,
                                                   18               California, within the County of Los Angeles.
                                                   19           7. I believe that Defendant Disney Lucasfilm Ltd. is a California limited
                                                   20               liability company, located in San Francisco, California that regularly and
                                                   21               continuously conducts business within this judicial district.
                                                   22           8. I believe that Defendant Anovos Productions, LLC is a Delaware
                                                   23               Corporation headquartered in McAllen, Texas, systematically and
                                                   24               continuously conducting its business nationwide, including Los Angeles,
                                                   25               California. Additionally, Anovos Productions, LLC’s primary registered
                                                   26               California office is located in Simi Valley.
                                                   27           9. Many of the acts and transactions giving rise to the violations described
                                                   28               within this lawsuit occurred in the County of Los Angeles, State of

                                                        ________________________________________________________________________________________________________
                                                        Declaration of Matthew Fernandes                 - !2 of ! 3 -             2:19-cv-04821-MWF-KS
 Case 2:19-cv-04821-MWF-KS Document 39 Filed 10/18/19 Page 3 of 3 Page ID #:361



 1               California.
 2           10. Therefore, the Central District of California is the proper place for trial of
 3               this action.
 4
 5           I declare under penalty of perjury under the laws of the State of California
 6   and the United States of America that the foregoing is true and correct.
 7
 8
     Date: 10/17/2019
           ____________
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                                                                         By:
10                                                                             Matthew Fernandes
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     Declaration of Matthew Fernandes                 - !3 of ! 3 -             2:19-cv-04821-MWF-KS
